
Judgment, Supreme Court, Bronx County (Steven Barrett, J., at plea and sentence), rendered on or about January 30, 2002, unanimously affirmed.
Application by appellant’s counsel to withdraw as counsel is granted (see Anders v California, 386 US 738 [1967]; People v Saunders, 52 AD2d 833 [1976]). We have reviewed this record and agree with appellant’s assigned counsel that there are no nonfrivolous points which could be raised on this appeal.
Fursuant to Criminal Frocedure Law § 460.20, defendant has the right to apply for leave to appeal to the Court of Appeals by making application to the Chief Judge of that Court and by submitting such application to the Clerk of that Court or to a Justice of the Appellate Division of the Supreme Court of this Department on reasonable notice to the respondent within 30 days after service of a copy of this order, with notice of entry.
Denial of the application for permission to appeal by the judge *126or justice first applied to is final and no new application may thereafter be made to any other judge or justice. Concur— Nardelli, J.E, Mazzarelli, Sullivan, Rosenberger and Lerner, JJ.
